Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 1 of 33 Page ID #:4
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 2 of 33 Page ID #:5



 1                                    INTRODUCTION
 2         1. This is a RICO and civil rights action brought under 42 U.S.C. §1962, 42
 3   U.S.C. §§1983 and 1985, and various related state laws by plaintiff against the City of
 4
     Maywood, the Maywood-Cudahy Police Department, and their employees individually
 5
     and in their official capacities, for injunctive relief and compensatory and punitive
 6
     damages because of a continuing systematic abuse of authority, including but not limited
 7
     to unlawful searches and seizures of person and property; wrongful detentions and
 8

 9   arrests, falseimprisonments, maliciousprosecutions, cover ups, false reportwriting, use

10   of excessive and unnecessary force, sexual assaults and other acts of lawlessness.
11   Plaintiff(s) first filed this action in Gonzalez v. City of Maywood, CV 07 3469 ODW
12   (Shx), on May 29, 2007; on January 28, 2008, the Court ordered the Plaintiffs’ actions
13   be severed and refiled as a separate case.
14
                                       JURISDICTION
15
           2. This case is brought pursuant to 18 U.S.C. § 1961 and 42 U.S.C. §§ 1983,
16
     1985 and 1986. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343 (1-4). This
17
     court also has supplemental jurisdiction over the state claims and over defendants
18

19   pursuant to 28 U.S.C. § 1367. Plaintiff is a victim of City of Maywood employees acting

20   under color of law and within the scope of their authority and pursuant to the policies
21   and practices of the entities.
22                                          VENUE
23         3. The claims alleged herein arose from events or omissions occurring in the
24
     County of Los Angeles. Therefore, venue lies in the Central District of California. 28
25
     U.S.C. 1391(b)(2).
26
                                          PLAINTIFF
27
           4. Plaintiff Jesse Castro is a resident of the County of Los Angeles, State of
28

                                                  -2-                            00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 3 of 33 Page ID #:6



 1   California. At all times material to this complaint, plaintiff was a private person in the
 2   State of California, United States of America.
 3                                       DEFENDANTS
 4
           5. Plaintiff is informed and believes and thereon alleges that at all times herein
 5
     mentioned defendants City of Maywood, the Maywood-Cudahy Police Department, and
 6
     Does 1 through 5, were and are public entities duly organized and existing as such under
 7
     the laws of and within the State of California under the laws of the United States and the
 8

 9   laws of the State of California.

10         6. Plaintiff is informed and believes and thereon alleges that at all times herein
11   mentioned defendants Bruce Leflar, Paul Pine, and Does were and/or are police
12   supervisors and/or policymakers for the City ofMaywood, the Maywood-Cudahy Police
13   Department and Does 6 through 15, and in such capacity were/are managersand/or chief
14
     administrators and/or policy makers. The named entities, supervisors and Does are
15
     responsible for, among other things, the employment, discharge, training, supervision,
16
     control, assignment and discipline of all sworn and civilian personnel of their entities
17
     and the formulation,       promulgation, adoption, application, implementation,
18

19   administration, enforcement and revocation of the policies and practices of the named

20   entities and Does.
21         7. Plaintiff is informed and believes and thereon alleges that the actions of named
22   and Doe supervisors were committed while employed by the entities and represent the
23   customs, practices and policies of the entities.       The acts herein described and
24
     complained of were committed and done pursuant to policies, rules, regulations,
25
     practices, customs, and/or usages [hereinafter "policies and practices"] of the entities
26
     and were created and enforced by the managers and/or supervisors and/or policy makers.
27
           8. Plaintiff is informed and believes and thereon alleges that the defendants and
28

                                                -3-                                00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 4 of 33 Page ID #:7



 1   Does are individual officers or agents of the City of Maywood and/or the
 2   Maywood-Cudahy Police Department and/or others at the times of the acts herein
 3   complained of.
 4
           9. The true names and capacities of defendants Does 1-30 are presently unknown
 5
     to plaintiff; who therefore sues each of these defendants by such fictitious names; but
 6
     upon ascertaining the true identity and/or liability of a defendant Doe, plaintiff will
 7
     amend this Complaint or seek leave to do so by inserting the true name in lieu of the
 8

 9   fictitious name. Plaintiff is informed and believes and thereon alleges that each

10   defendant Doe herein is in some manner responsible for the injuries and damages herein
11   complained of.
12                                    INCORPORATION
13         10. The above paragraphs are hereby repeated, realleged and incorporated by this
14
     reference in each cause of action.
15
                   FACTS COMMON TO ALL CLAIMS FOR RELIEF
16
           11. On or about January 21, 2007 near the intersection of 52nd Street and Loma
17
     Vista in Maywood, California seven or eight unknown Doe officers in Maywood-
18

19   Cudahy Police uniforms wrongfully detained, assaulted, battered, threatened, searched,

20   Jesse Castro and unlawfully entered and searched Jesse Castro’s automobile. The force
21   used included using a flashlight and/or baton to strike the window of Plaintiff’s car,
22   drawing and pointing of firearms at Plaintiff, dragging Plaintiff out of the car, kicking
23   Plaintiff, and threatening to kill Plaintiff. Unknown Doe Maywood Police desk officers
24
     thereafter refused to take a written complaint about the incident. Plaintiff is informed
25
     and believes and thereon alleges that defendants committed these wrongful acts because
26
     they believed in the existence of and actively participated in the code of silence in the
27
     Maywood/Cudahy Police Department allowing them to engage in wrongful conduct and
28

                                                -4-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 5 of 33 Page ID #:8



 1   obstruct justice with impunity.
 2         12. Plaintiff is informed and believes and thereon alleges that defendants'
 3   wrongful conduct included but is not limited to fraud, fraud by wire, obstruction of
 4
     justice, kidnaping and bribery.
 5
           13. Plaintiff is informed and believes there are numerous other similar victims
 6
     of defendants' wrongful acts who are afraid to seek, and/or unable to seek redress
 7
     because of their reasonable fears of retaliation, and/or because they are recent
 8

 9   immigrants who are reasonably concerned about the lawfulness of their status, and/or

10   because they are unable to find representation.
11         14. Plaintiff complied with the provisions of the California Tort Claims Act.
12                             The Maywood Police Department
13         15.     Plaintiff is informed and believes and thereon alleges that the
14
     Maywood-Cudahy Police Department has for years been a department composed of
15
     persons not conforming their conduct to the requirements of the law, or to established
16
     standards of proper police practices.
17
           16. Plaintiff is informed and believes and thereon alleges that the defendants,
18

19   officers and supervisors within the Maywood-Cudahy Police Department, invidiously

20   singled out, targeted and violated the rights of recent immigrants and/or persons
21   defendants perceived to be recent immigrants because defendants knew that recent
22   immigrants were easy victims, afraid to exercise their rights, and readily subject to
23   retaliation if they attempted to exercise their rights.
24
           17. Plaintiff is informed and believes and thereon alleges that the violations of
25
     individuals' rights by Maywood-Cudahy officers occurred not because of a few "bad
26
     apples" but is instead the result of a culture of lawlessness permeating the entities and
27
     constituting and/or proximately caused by their routine practices, including a code of
28

                                                 -5-                              00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 6 of 33 Page ID #:9



 1   silence and conspiracy to obstruct justice.
 2         18.     Plaintiff is informed and believes and thereon alleges that the
 3   Maywood-Cudahy police department regularly hires police officers who have been
 4
     pushed out of other law enforcement agencies for crimes or serious misconduct,
 5
     including but not limited to: A former Los Angeles County sheriff's deputy terminated
 6
     for abusing jail inmates; a onetime Los Angeles Police Department officer fired for
 7
     intimidating a witness; and an ex-Huntington Park officer charged with negligently
 8

 9   shooting a handgun and driving drunk.

10         19. Plaintiff is informed and believes and thereon alleges, based in part upon
11   allegations contained in a Superior Court complaint filed by Maywood-Cudahy Officer
12   Pablo Cunningham, one of the named defendants in this action (and in many other
13   federal civil rights actions, as alleged below), that supervisors required officers to
14
     "engage in racial profiling and quotas," and that Cunningham was "threatened by [
15
     Police Chief Bruce] Leflar with loss of his job after he refused to engage in racial
16
     profiling." Plaintiff is informed and believes that Cunningham was fired by the
17
     Maywood-Cudahy Police Department and then rehired because he threatened to expose
18

19   improprieties within the department.

20         20. Plaintiff is informed and believes and thereon alleges, as pleaded by
21   Defendant Cunningham his Superior Court complaint, that defendants covered up
22   misconduct including excessive force, promoted a code of silence and conspiracy to
23   obstruct justice, hired people unfit to be officers (for improper reasons, including but not
24
     limited to their connections to other City officials), extorted people for sex, and took
25
     kickbacks and bribes.
26
           21. Plaintiff is informed and believes and thereon alleges that official public
27
     records document that Pine resided in an apartment owned by the proprietors of a tow
28

                                                   -6-                              00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 7 of 33 Page ID #:10



  1   yard. Plaintiff is informed and believes that the tow yard owner is Maywood Club Tow.
  2         22. Plaintiff is informed and believes that Pine was permitted to live in the
  3   apartment as a quid pro quo for Pine's assistance in causing the towing, impoundment,
  4
      and sale of vehicles, for the illicit gain of Pine, the City of Maywood, the
  5
      Maywood-Cudahy Police Department, Does, and others.
  6
            23. Plaintiff is informed and believes and thereon alleges that Maywood Club
  7
      Tow and/or its owners and/or Does gave money and/or things of value to defendants as
  8

  9   a quid pro quo for the assistance and cooperation of defendants in causing the towing,

 10   impoundment, and sale of vehicles.
 11         24. Plaintiff is informed and believes that governing officials of the City of
 12   Maywood received money and/or things of value from Maywood City Tow and/or its
 13   owners, and/or Does as a quid pro quo for, among other things, starting, continuing,
 14
      implementing and/or protecting defendants' illicit vehicle towing scheme.
 15
            25. Plaintiff is informed and believes that the Cities of Maywood and Cudahy
 16
      and the Maywood-Cudahy Police Department did a land-office business with Maywood
 17
      Club Tow, towing, impounding, confiscating, and selling vehicles, and reaping huge
 18

 19   profits in doing so, and that Pine and other defendants were personally involved in this

 20   illicit, fraudulent and criminal practice, including the conduct of supposed hearings to
 21   determine whether vehicles should be returned to their owners. The involvement of
 22   defendants including Pine in the hearings made them unfair and deprived vehicle owners
 23   of due process of law.
 24
            26. Plaintiff is informed and believes and thereon alleges that existence of graft
 25
      and corruption, and the knowledge of the graft and corruption, within the
 26
      Maywood-Cudahy Police Department and the City of Maywood, including but not
 27
      limited to the illicit, fraudulent and criminal scheme to tow, impound and sell vehicles,
 28

                                                 -7-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 8 of 33 Page ID #:11



  1   made it difficult and/or impossible for any supervisor to exercise meaningful
  2   supervision and/or to discipline officers who abused people and violated the law, for
  3   fear that officers would blow the whistle on the corruption and nepotism including but
  4
      not limited to the vehicle towing scheme, if any meaningful discipline were threatened
  5
      or imposed and proximately caused, fostered and contributed to the code of silence and
  6
      conspiracy to obstruct justice within the department.
  7
            27. Plaintiff is informed and believes that the code of silence and defendants’
  8

  9   conspiracy to obstruct justice, and an absence of meaningful supervision and discipline,

 10   was each a proximate cause of defendants’ violations of Plaintiff’s rights.
 11         28.     Plaintiff is informed and believes and thereon alleges that the
 12   Maywood-Cudahy Police Department does not have adequate procedures to supervise
 13   and/or discipline its employees, including but not limited to the following:
 14
                   a.   Inadequate reporting requirements, including but not limited to
 15
            inadequate use-of-force reporting;
 16
                   b. Inadequate procedures for documenting and investigating citizens'
 17
            complaints, including but not limited to refusing to accept citizens' complaints,
 18

 19         failing adequately to documents citizens' complaints, failing to investigate

 20         citizens' complaints, and failing to respond to court orders requiring defendants
 21         to disclose citizens' complaints.
 22         29. Failures by all the supervisor, manager and policy-making defendants to
 23   provide oversight over the Maywood-Cudahy police, to make them follow the
 24
      requirements of the Constitution, and/or to stop officers from making false charges
 25
      against innocent persons and lying to support false charges, among other things, make
 26
      those defendants liable to plaintiffs.
 27
            30. Plaintiff is informed and believes that all the injunctive relief prayed for in
 28

                                                 -8-                                00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 9 of 33 Page ID #:12



  1   this complaint is necessary to stop the wide-scale violation of peoples' rights by
  2   defendants.
  3                              Scope and Nature of Allegations
  4
             31. Plaintiff is informed and believes and thereupon alleges that officials,
  5
      supervisors, policy makers and other individuals with the authority to set or modify
  6
      municipal and/or departmental policy, dejure or defacto, of Defendant City of
  7
      Maywood, participated in, approved of, ratified and/or failed to prevent the acts by
  8

  9   Defendants City of Maywood, Maywood-Cudahy Police Department, Bruce Leflar, Paul

 10   Pine, Cunningham and Does 1-30, complained of by Plaintiff.
 11          32. Plaintiff is informed and believes and thereon alleges that at all times herein
 12   mentioned, each of the defendants; including officials, supervisors, watch commanders
 13   and other policy makers from Defendant City of Maywood; was the agent, employee or
 14
      co-conspirator of one other, some, or all of their Co-defendants. Plaintiff is informed,
 15
      believes and thereupon alleges that each of the defendants, acting individually, and in
 16
      concert with each other, engaged in a common plan wrongfully to deprive Plaintiff of
 17
      his rights to: security in Plaintiff’s person, property and effects, freedom from
 18

 19   unreasonable searches and seizures, equal protection and due process of law, and of the

 20   right to seek redress and obtain compensation for the wrongs committed against
 21   Plaintiff.
 22          33. In doing each and all of the things herein mentioned, or neglecting or
 23   intentionally failing to rectify said misconduct, each and all defendants were acting
 24
      pursuant to a defacto policy and within the scope of such agency, employment and
 25
      conspiracy and with full permission, knowledge, approval, ratification and support of
 26
      each other.
 27
      ///
 28

                                                  -9-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 10 of 33 Page ID #:13



   1                                           Damages
   2         34. By reason of the aforementioned acts of defendants, and each of them,
   3   Plaintiff was injured in Plaintiff’s health, strength and activity, sustained great mental
   4
       pain, suffering and shock to Plaintiff’s nervous systems, torment, anxiety, anguish,
   5
       humiliation and severe emotional distress, all to Plaintiff’s damage in an amount
   6
       according to proof at trial. As a proximate result of the foregoing wrongful acts of
   7
       defendants, and each of them, property belonging to Plaintiff was damaged and
   8

   9   destroyed in an amount according to proof.

  10         35. Plaintiff is informed and believes and thereon alleges that, by reason of the
  11   aforementioned acts of defendants and each of them, Plaintiff was and/or will in the
  12   future be required to receivehospital, medical, doctor, nursing, dental and psychological
  13   care and treatment, and by reason thereof, will incur expenses related thereto in an
  14
       amount according to proof at trial.
  15
             36. By reason of defendants’ wrongful acts, Plaintiff was injured in Plaintiff’s
  16
       businesses and/or property, including but not limited to being unable to work and earan
  17
       money, and Plaintiff will in the future be injured in Plaintiff’s business and/or property
  18

  19   by sustaining a loss and impairment of earnings and earning capacity, in an amount

  20   according to proof at trial. By reason of defendants’ code of silence and conspiracy to
  21   obstruct justice, defendants have damaged, impaired and reduced the value of Plaintiff’s
  22   property interests, including but not limited to Plaintiff’s property interest in his right
  23   and/or causes of action to obtain redress and compensation for the wrongs committed
  24
       against Plaintiff.
  25
             37. Defendants acts were done and committed by each individual defendant
  26
       knowingly, deliberately and maliciously with the intent to oppress, injure and harass
  27
       Plaintiff (with the exception of the claims by Plaintiff based on negligence) and with
  28

                                                  -10-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 11 of 33 Page ID #:14



   1   reckless indifference to Plaintiff’s civil rights, personal security and safety, and by
   2   reason thereof, Plaintiff prays for punitive and exemplary damages from and against
   3   individual defendants and each of them in an amount according to proof at trial.
   4
                                     CLAIMS FOR RELIEF
   5
                                 FIRST CLAIM FOR RELIEF
   6                   BY PLAINTIFF AGAINST ALL DEFENDANTS
                     (Violation of RICO Statute - 18 U.S.C. §§ 1962(c), (d))
   7

   8         38. This cause of action is brought by Plaintiff for treble damages for injury to
   9
       his business or property including but not limited to lost employment and accrued
  10
       interest resulting from the conduct alleged herein, which violates the provisions of 18
  11
       U.S.C. §§ 1961-1968 (hereafter "RICO").
  12
             39. The following constitute an enterprise within the meaning of RICO generally
  13

  14   and 18 U.S.C. § 1961(4) specifically:

  15                a. The Maywood-Cudahy Police Department;
  16                b. The City of Maywood;
  17                c. Maywood Club Towing Company;
  18                d. The Association in Fact of defendants City of Maywood, Maywood-
  19
             Cudahy Police Department, Maywood Club Towing Company (“the AIF
  20
             Enterprise”).
  21
             40. Plaintiff is informed and believes and thereon alleges that each enterprise
  22
       alleged herein is an entity distinct from the pattern of racketeering activity alleged
  23

  24
       herein; is or was an ongoing organization, formal or informal; and functions or

  25   functioned as a continuing unit, to wit:

  26                a. The City of Maywood is a public entity with a formal structure and
  27         capacity engaging in a wide range of activities, only part of which entails the
  28

                                                  -11-                            00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 12 of 33 Page ID #:15



   1       pattern of racketeering activity alleged in this complaint. The defendants charged
   2       with operating it under 42 U.S.C. § 1962 (c) were animated by, among other
   3       things, engaging in bribery, obstruction of justice, and fraud.
   4
                 b. The Maywood-Cudahy Police Department is a subdivision of the City
   5
           of Maywood and City of Cudahy whose charge is enforcement of the laws of the
   6
           State of California and the Cities of Maywood and Cudahy, in which capacity it
   7
           has a formal structure and engages in a wide range of activities, only part of
   8

   9       which entails the pattern of racketeering activity alleged in this complaint. The

  10       defendants charged with operating it under 42 U.S.C. § 1962 (c) were animated
  11       by, among other things, bribery, extortion, obstruction of justice, and kidnaping.
  12             c. Maywood Club Towing Company is a formally organized business
  13       entity engaged in the business of towing and impounding vehicles under a variety
  14
           of circumstances, only part of which entails the pattern of racketeering activity
  15
           alleged in this complaint. The defendants charged with operating it under 42
  16
           U.S.C. § 1962 (c) were animated by, among other things, the common purpose of
  17
           unlawfully impounding vehicles in order to collect and receive the illegal charges
  18

  19       resulting from the impound, and implemented the illegal scheme by mail fraud

  20       and bribery.
  21             d. The AIF Enterprise had an ascertainable structure, comprised of the
  22       Maywood-Cudahy Police Department, Maywood Club Towing Company, and the
  23       key individuals who directed the enterprise’s unlawful activities which included
  24
           but are not limited to Pine and Does. This structure was distinct from the pattern
  25
           of racketeering activity in that the enterprise’s activities encompassed both lawful
  26
           and unlawful activities. The AIF Enterprise’s associates were animated by
  27
           common purposes, including but not limited to unlawfully and fraudulently
  28

                                               -12-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 13 of 33 Page ID #:16



   1         impounding vehicles to collect and receive the illegal charges resulting from the
   2         impound and receive kickbacks, and to cover up and conceal their activities by
   3         obstructing justice in state and federal civil and criminal proceedings by means
   4
             of a code of silence. The AIF Enterprise functioned as a continuing unit with
   5
             continuity in both structure and personnel.
   6
             41. The activities of the enterprises affect interstate commerce in numerous ways,
   7
       including but not limited to: 1) the use of interstate mail, telephone and wires (including
   8

   9   transmission and dissemination of false arrests and false criminal charges); 2) the

  10   purchase of materials for use in the enterprises which materials were in the stream of
  11   interstate commerce; 3) the provision of federal funds to the Maywood-Cudahy Police
  12   Department, received through the stream of interstate commerce; 4) oversight by federal
  13   governmental entities of various of the activities of the Maywood-Cudahy Police
  14
       Department and/or the City of Maywood, involving interstate travel and the expenditure
  15
       of funds through the stream of interstate commerce; 5) the interstate travel of various
  16
       of the owners of impounded vehicles to retrieve their impounded vehicles or attempt to
  17
       do so; 6) the travel, paid from proceeds of the pattern of racketeering activity alleged
  18

  19   herein, of members of the Maywood-Cudahy Police Department from California to Las

  20   Vegas; 7) the purchase of tow trucks, and gasoline and equipment for said trucks, used
  21   in furtherance of the pattern of racketeering activity alleged herein that reached the
  22   purchasers through the stream of interstate commerce.
  23         42. Defendants’ racketeering activities included but are not limited to the
  24
       following:
  25
                    a. Condoning and encouraging the fabrication of evidence including but
  26
             not limited to the filing of materially false police reports in tended to be used in
  27
             state and federal civil and criminal proceedings;
  28

                                                  -13-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 14 of 33 Page ID #:17



   1               b. Condoning and encouraging a "code of silence," which keeps and/or
   2         dissuades employees from reporting the misdeeds of fellow employees, and/or
   3         causes and/or facilitates the preparation, submission and use of false official
   4
             reports, and/or making false official statements, and/or perjury; and which thereby
   5
             obstructs justice in official proceedings, including but not limited to state and
   6
             federal criminal investigations and proceedings, and/or state and federal civil
   7
             investigations and proceedings;
   8

   9               c. Condoning and encouraging officers in the belief that their failure or

  10         refusal to participate in the "code of silence" or to cover up or conceal the
  11         misconduct of other officers will cause them to be ostracized by other officers,
  12         will adversely affect their ability to get support from other officers in dangerous
  13         and/or life-threatening situations in the field and will adversely affect their
  14
             opportunities for promotion and other employment benefits, and which thereby
  15
             obstructs justice in official proceedings, including but not limited to state and
  16
             federal criminal investigations and proceedings, and/or state and federal civil
  17
             investigations and proceedings;
  18

  19               d. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"

  20         and/or other wrongful and/or illicit compensation, which has the effect of
  21         strengthening defendants’ code of silence and conspiracy to obstruct justice by
  22         making all department employees, including but not limited to supervisors,
  23         vulnerable to accusations of misconduct and unable and/or unwilling to
  24
             accurately report misconduct, and/or to supervise and/or discipline subordinates.
  25
             43. Plaintiff is informed and believes that defendants’ code of silence and
  26
       conspiracy to obstruct justice is and was operative in many state and federal
  27
       proceedings, including but not limited to the following federal cases:
  28

                                                 -14-                              00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 15 of 33 Page ID #:18



   1                  a. Jose Rodriguez and Guillermo De La Torre v. City of Maywood, CV
   2         99-9898 CBM (Ex);
   3                  b. Ortiz v. City of Maywood, Pablo Cunningham, et.al.,CV 06-3622 DSF
   4
             (FMOx);
   5
                      c. Flores v. City of Maywood, Pablo Cunningham, CV 04-7565 GPS (Ex)
   6
                      d. Pacheco v. City of Maywood, Pablo Cunningham, et.al., CV 06-7613
   7
             PSG (FFMx);
   8

   9                  e. Cruz v. City of Maywood, Paul [Pablo] Cunningham, CV 07-1999 PSG

  10         (JCx);
  11                  f. Sena v. City of Maywood, et.al., CV 07-1724 AHM (JCx);
  12                  g. Trujillo v. City of Maywood, et.al., CV 06-2738 PA (VBKx);
  13                  h. Gonzalez v. City of Maywood, et.al., CV 05-6953 RJK (VBKx);
  14
                      i. Anderson (Estate) v. City of Maywood, et.al., CV 04-10119 RGK (Shx);
  15
                      j. Densmore v. Maywood, et.al., CV 06-3535 PSG (RZx).
  16
                                  SECOND CAUSE OF ACTION
  17                        (Violation of Civil Rights - 42 U.S.C. § 1983)
                                 Monell and Supervisorial Liability
  18

  19         44. Plaintiff is informed and believes and thereon alleges that at all times herein

  20   mentioned, above named defendants with deliberate indifference, gross negligence
  21   and/or reckless disregard for the safety, security and constitutional and statutory rights
  22   of Plaintiff maintained, enforced, tolerated, permitted, acquiesced in, and/or applied
  23   inter alia policies and practices which included directing and controlling the unlawful
  24
       acts complained of herein.
  25
             45. Said defendants and each of them, acting under color of state law, have
  26
       deprived Plaintiff of rights, privileges, and immunities secured by the Constitution and
  27
       laws of the United States, in particular by the First, Fourth, Fourteenth Amendments to
  28

                                                  -15-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 16 of 33 Page ID #:19



   1   the United States Constitution by inter alia maintaining, enforcing, tolerating,
   2   permitting, acquiescing and, and/or applying the policies and practices set forth above.
   3   As a direct and proximate result of those policies and practices, Plaintiff sustained injury
   4
       and damage as described herein.
   5
             46. Plaintiff is informed and believes and thereon alleges that the supervisorial
   6
       defendants ordered, authorized, acquiesced in, tolerated, or permitted other defendants
   7
       herein to engage in the unlawful and unconstitutional actions, policies, and practices set
   8

   9   forth above. Defendants' conduct alleged herein constitutes a pattern of illicit law

  10   enforcement behavior, and statutory and constitutional violations based either on a
  11   deliberate plan by defendants or on defendants' deliberate indifference, gross
  12   negligence, or reckless disregard for the safety, security and constitutional and statutory
  13   rights of Plaintiff which violations include:
  14
                    a. Stopping, detaining, and/or arresting people and/or entering homes,
  15
             and/or searching and/or seizing property and people, without required warrants,
  16
             reasonable suspicion and/or probable cause;
  17
                    b. Using unreasonable and/or excessive force;
  18

  19                c. Allowing and/or encouraging employees to brutalize, hurt and/or injure

  20         members of the public, by failing to require effective use-of-force training,
  21         supervision, discipline and reporting, including but not limited to not requiring
  22         employees to report uses of force, by permitting and/or encouraging false and/or
  23         misleading and/or incomplete reporting, and/or by failing adequately to monitor
  24
             employee uses of force;
  25
                    d. Condoning, tolerating and/or acquiescing in officers' engaging in racist
  26
             conduct and/or racially motivated attacks on minority members of the community,
  27
             and/or using racist speech when speaking with minorities and/or denigrating the
  28

                                                   -16-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 17 of 33 Page ID #:20



   1       race and/or nationality of minority members of the community;
   2             e. Condoning, tolerating and/or acquiescing in officers' sexually abusing
   3       members of the community, including minors;
   4
                 f.   Failing adequately to investigate incidents involving the use of
   5
           unreasonable force and/or other misconduct;
   6
                 g. Conducting investigations in such a manner as to conceal misconduct,
   7
           including but not limitedto using investigative techniques and procedures known
   8

   9       to have that effect;

  10             h. Condoning and encouraging the fabrication of evidence including but
  11       not limited to the filing of materially false police reports;
  12             i. Condoning and encouraging a "code of silence," which keeps and/or
  13       dissuades employees from reporting the misdeeds of fellow employees, and/or
  14
           causes and/or facilitates the preparation, submission and use of false official
  15
           reports, and/or making false official statements, and/or perjury; and which thereby
  16
           obstructs justice in official proceedings, including but not limited to state and
  17
           federal criminal investigations and proceedings, and/or state and federal civil
  18

  19       investigations and proceedings;

  20             j. Condoning and encouraging officers in the belief that their failure or
  21       refusal to participate in the "code of silence" or to cover up or conceal the
  22       misconduct of other officers will cause them to be ostracized by other officers,
  23       will adversely affect their ability to get support from other officers in dangerous
  24
           and/or life-threatening situations in the field and will adversely affect their
  25
           opportunities for promotion and other employment benefits, and which thereby
  26
           obstructs justice in official proceedings, including but not limited to state and
  27
           federal criminal investigations and proceedings, and/or state and federal civil
  28

                                                -17-                              00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 18 of 33 Page ID #:21



   1         investigations and proceedings;
   2                k. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
   3         and/or other wrongful and/or illicit compensation, which has the effect of making
   4
             supervisors within the department vulnerable to accusations of misconduct and
   5
             unable and/or unwilling to effectively supervise and/or discipline subordinates;
   6
                    l. Hiring individuals who are unsuited for police work, including but not
   7
             limited to hiring individuals who have been fired or disciplined by other law
   8

   9         enforcement agencies because they engaged in misconduct; and/or failing to

  10         conduct appropriate and/or required background investigations.
  11         47. Defendants and each of them, acting under color of state law, have deprived
  12   Plaintiff of rights, privileges, and immunities secured by the Constitution and laws of
  13   the United States, in particular by the First, Fourth, and Fourteenth Amendments to the
  14
       United States Constitution by inter alia maintaining, enforcing, tolerating, permitting,
  15
       acquiescing and, and/or applying the policies and practices set forth above. As a direct
  16
       and proximate result of those policies and practices, Plaintiff has sustained injury and
  17
       damage as described hereinafter.
  18

  19         48. Plaintiff is informed and believes and thereon alleges that defendant entities

  20   and supervisorial defendants ordered, authorized, acquiesced in, tolerated, or permitted
  21   other defendants herein to engage in the unlawful and unconstitutional actions, policies,
  22   and practices set forth above. Defendants' conduct alleged herein constitutes a pattern
  23   of intimidation, illicit law enforcement behavior, and statutory and constitutional
  24
       violations based either on a deliberate plan by defendants or on defendants' deliberate
  25
       indifference, gross negligence, or reckless disregard for the safety, security and
  26
       constitutional and statutory rights of Plaintiff.
  27
       ///
  28

                                                   -18-                             00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 19 of 33 Page ID #:22



   1                               THIRD CAUSE OF ACTION
                           (Violation of Civil Rights - 42 U.S.C. § 1983)
   2                       Against All Individually Named Defendants
   3         49. Defendants and each of them, acting under color of state law, did without
   4
       probable cause and by use of excessive force unlawfully detain, arrest, batter, search,
   5
       molest and write false reports about Plaintiff, and did do all of the above in a
   6
       conspiratorial manner for the purpose of illegally obtaining criminal conviction(s)
   7
       against Plaintiff and to conceal their own wrongdoing and did also do so to intimidate
   8

   9   Plaintiff’s witness(es) in said criminal prosecutions for the same improper purposes, all

  10   of which were intended with deliberate indifference of and reckless disregard for
  11   Plaintiff’s constitutional rights under the First, Fourth and Fourteenth Amendments to
  12   the United States Constitution. As a direct and proximate result of defendants' acts,
  13   Plaintiff sustained injury and damage as set forth herein.
  14
                                FOURTH CAUSE OF ACTION
  15                            (Violation of 42 U.S.C. §1985(2))
                           Against All Individually Named Defendants
  16
             50. Defendants, and two or more of them, in the State of California, County of
  17
       Los Angeles, and City of Maywood-Cudahy, by reason of Defendants' animus against
  18

  19   minorities, including Plaintiff’s Latino heritage and invidious animus, conspired

  20   together to act and to fail and omit to act as hereinbefore alleged, for the purpose of (I)
  21   impeding, hindering, obstructing, and defeating the due course of justice in the State of
  22   California and County of Los Angeles, (ii) to deny Plaintiff his right to free speech, (iv)
  23   to deny equal protection of the laws to Plaintiff and (v) to subject Plaintiff’s persons and
  24
       property to unlawful search and seizure thereby depriving Plaintiff of immunities
  25
       secured by the Constitution and the laws of the United States, including the First, Fourth
  26
       and Fourteenth Amendments to the Unites States Constitution, by, inter alia, ordering,
  27
       authorizing, maintaining, enforcing, tolerating, ratifying, permitting, acquiescing in,
  28

                                                   -19-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 20 of 33 Page ID #:23



   1   and/or applying the policies and practices set forth hereinabove. Defendants' conspiracy
   2   was and is motivated by animus directed against Plaintiff because of his race, color or
   3   national origin, and/or by the race, color, or national origin of persons with whom they
   4
       associated, and/or by other class-based, invidiously discriminatory animus directed
   5
       against Plaintiff. In furtherance of the conspiracy one or more of the defendants
   6
       committed one or more of the overt acts set forth hereinabove which did in fact deprive
   7
       Plaintiff of equal rights, privileges or immunities.
   8

   9         51. Defendants, and each of them, purposefully, under color of law, planned and

  10   conspired to deny Plaintiff equal protection of the laws in the following respects:
  11                a. to deny the right to be free from unreasonable search and seizure;
  12                b. to deny the right not to be deprived of life, property or liberty without
  13         due process of law;
  14
                    c. to deny the right of free speech;
  15
                    d. to be free from use of excessive force.
  16
             52. By virtue of the foregoing, defendants, and each of them, violated 42 U.S.C.
  17
       §1985(2).
  18

  19         53. As a direct and proximate result of the foregoing, Plaintiff has been damaged

  20   as recited above and demand and isentitled to the damages recited above, including, but
  21   not limited to, general and punitive damages (except entities) and attorney's fees.
  22                               FIFTH CAUSE OF ACTION
                                  (Violation of 42 U.S.C. §1985(3))
  23                         Against All Individually Named Defendants
  24
             54. By virtue of the foregoing, Defendants, and two or more of them, conspired
  25
       for the purpose of:
  26
                    a. depriving Plaintiff of (1) equal protection of the law; and (2) liberty and
  27
             property without due process of law.
  28

                                                  -20-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 21 of 33 Page ID #:24



   1         55. Defendants, and each of them, did and caused to be done, an act or acts in
   2   furtherance of the object of the conspiracy, whereby Plaintiff was deprived of the rights
   3   and privileges as set forth above.
   4
             56. As a direct and proximate result of the foregoing, Plaintiff is entitled to and
   5
       demands damages against defendants, jointly and severally, as recited in the First and
   6
       Second Causes of Action, including, but not limited to, general and punitive damages
   7
       (except entities) and attorneys fees.
   8

   9                              SIXTH CAUSE OF ACTION
                        (California Constitution, Article I, §§ 1, 7, and 13)
  10                                 Against All Defendants
  11         57. The conduct of each defendant in detaining, searching, arresting, and
  12   assaulting Plaintiff and in threatening and in doing or failing to do the other wrongful
  13   acts herein alleged was done for the purpose of interfering with and attempting to
  14
       interfere with Plaintiff’s rights to freedom of expression, to be free from unreasonable
  15
       invasions of their privacy and unreasonable search and seizure, and to be accorded due
  16
       process and equal protection under Article I, §§ 1, 7 and 13 of the California
  17
       Constitution.
  18

  19                             SEVENTH CAUSE OF ACTION
                                   (California Civil Code §52.1)
  20                                 Against All Defendants
  21         58. The conduct of each defendant in detaining, searching, and assaulting
  22   Plaintiff and in threatening and in doing or failing to do the other wrongful acts herein
  23   alleged was done for the purpose of interfering with and attempting to interfere with
  24
       Plaintiff's rights under the First, Fourth and Fourteenth Amendments and Plaintiff's right
  25
       to freedom of expression, to be free from unreasonable invasions of his privacy and
  26
       unreasonable search and seizure and accorded due process and equal protection under
  27
       Article I, §§ 1, 7, 12, and 13 of the California Constitution, and for that reason violated
  28

                                                  -21-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 22 of 33 Page ID #:25



   1   Plaintiff's rights under California Civil Code Section 52.1(b). Plaintiff is informed and
   2   believes and thereon alleges that the defendants’ wrongful acts were done maliciously
   3   and criminally and for the purpose of inflicting injury on Plaintiff.
   4
              59.   As the proximate cause of defendants’ and each of their conduct as
   5
       hereinbefore alleged, Plaintiff has been damaged in an amount not presently ascertained,
   6
       but subject to proof at trial.
   7
              60. Plaintiff is informed and believes and thereon alleges that Defendants’ and
   8

   9   each of their conduct was malicious, willful, fraudulent and oppressive, done with a

  10   conscious disregard for Plaintiff’s rights and with the intent to injure Plaintiff, thereby
  11   justifying the award of exemplary damages (except for entities) in a sum to be
  12   determined according to proof.
  13                               EIGHTH CAUSE OF ACTION
  14                             (California Civil Code Section 51.7)
                                       Against All Defendants
  15
              61. Plaintiff is informed and believes and thereon alleges that the conduct of each
  16
       defendant in using force upon and injuring Plaintiff and in threatening and attempting
  17
       to use force upon and injure Plaintiff, and in doing or failing to do the other wrongful
  18

  19   acts herein alleged was motivated by defendants' invidious racial and/or ethnic and/or

  20   other impermissible animus toward Plaintiff, and for that reason violated Plaintiff’s
  21   rights under California Civil Code § 51.7. Plaintiff is informed and believes and thereon
  22   alleges that the defendants’ wrongful acts were done maliciously and criminally and for
  23   the purpose of inflicting injury on Plaintiff.
  24
                                    NINTH CAUSE OF ACTION
  25                                   (Assault and Battery)
                                       Against all Defendants
  26
              62. At the date, time and location, defendants, and each of them, as either
  27
       employees, supervisors or employees in the course and scope of their duties
  28

                                                  -22-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 23 of 33 Page ID #:26



   1   intentionally and maliciously abused Plaintiff by reason of the acts alleged herein above
   2   causing Plaintiff, without provocation, necessity or lawful justification, to suffer said
   3   violations of their civil rights.
   4
              63. As a proximate result of the acts of defendants, and each of them, as herein
   5
       alleged, Plaintiff was compelled to expend money all to their damage in an amount
   6
       according to proof.
   7
              64. As a proximate result of the acts of defendants, and each of them, Plaintiff
   8

   9   was injured in health, strength and activity, sustaining injuries to his body and shock

  10   and injury to his nervous systems and persons; all of which injuries have caused Plaintiff
  11   to suffer severe pain and mental anguish.
  12          65. As a further proximate result of the acts of defendants, and each of them,
  13   Plaintiff was required to and/or did employ physicians and surgeons for medical
  14
       examination, treatment and care of injuries, and did incur medical and incidental
  15
       expenses. Plaintiff did incur and will incur further treatment, the exact amount of which
  16
       is unknown at this time.
  17
              66. As a further proximate result of the acts of defendants, Plaintiff was
  18

  19   prevented from attending to his usual occupations and thereby lost earnings and income.

  20          67. The acts of defendants, and each of them, were willful, malicious and
  21   oppressive, in conscious disregard of Plaintiff’s known rights and thereby justify the
  22   awarding of exemplary damages (except entities) according to proof.
  23                                TENTH CAUSE OF ACTION
  24
                             (Intentional Infliction of Emotional Distress)
                                        Against all Defendants
  25
              68. Plaintiff was entitled to the due care, service and protection of the entities and
  26
       their officers and medical staff.
  27
              69. On or about the dates alleged above and thereafter, Defendants caused the
  28

                                                   -23-                                00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 24 of 33 Page ID #:27



   1   Plaintiff to be unlawfully detained, seized, beaten and/or otherwise abused without
   2   reasonable cause or justification.
   3         70. In doing the aforementioned acts, defendants’ conduct was intentional,
   4
       outrageous, malicious, and done for the specific purpose of causing Plaintiff to suffer
   5
       extreme emotional distress, indignity, fear, anxiety, and mental anguish.
   6
             71. As a direct and proximate result of the foregoing, Plaintiff has suffered, and
   7
       continue to suffer, severe mental, emotional and physical distress and are entitled to and
   8

   9   demands damages against defendants.

  10                          ELEVENTH CAUSE OF ACTION
                           (Negligent Employment Civil Code §1714)
  11                       Against Entities and Supervisor Defendants
  12         72. Defendant entities and supervisor defendants knew or in the exercise of due
  13   care should have known, that individually named defendants and Does 1 Through 30
  14
       inclusive, and each of them, had a propensity, character trait, and practice for
  15
       dishonesty, deception, abuse of authority, harassment, and violence without justification
  16
       against Plaintiff and other members of the public.
  17
             73. At all times material herein, said Defendant entities and supervisors knew or
  18

  19   with reasonable care should have known, that the aforedescribed traits of character,

  20   practices and propensities of defendants and Does 1 through 30 inclusive, and each of
  21   them, made them unfit to serve as law enforcement officers.
  22         74.   Notwithstanding such knowledge, Defendant entities and supervisors
  23   negligently and carelessly employed and retained and failed to properly supervise, train
  24
       and control defendants and Does 1 through 30 inclusive, and each of them, as employees
  25
       and assigned said defendants to duties which enabled each of them to abuse their
  26
       authority, including but not limited to making unlawful detentions and arrests by use of
  27
       excessive force, warrantless arrests, fabricating probable cause and crimes, causing the
  28

                                                  -24-                              00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 25 of 33 Page ID #:28



   1   fraudulent and malicious criminal prosecution of innocent persons while purporting to
   2   act under the color of law.
   3         75. As a proximate result of the negligent retention and supervision of defendant
   4
       entities and supervisors and each of them, Plaintiff suffered damages and injuries,
   5
       including but not limited to false arrests/detentions, beatings, malicious prosecutions,
   6
       severe mental anguish, emotional distress, severe embarrassment, financial losses, all
   7
       to the Plaintiff’ damage in a sum according to proof.
   8

   9                               TWELFTH CAUSE OF ACTION
                                    (Negligence/Civil Code § 1714))
  10                                    Against All Defendants
  11         76. Plaintiff alleges that by the actions or omissions set forth above, all
  12   defendants failed to use and exercise reasonable care as is required by Civil Code §
  13   1714. In particular, defendants failed to exercise reasonable care in its conduct in the
  14
       exercise of their duties.
  15
             77. As a proximate result of the negligence and carelessness of defendants, and
  16
       each of them, Plaintiff suffered damages as alleged above in a sum according to proof.
  17
                                       INJUNCTIVE RELIEF
  18

  19         78. Plaintiff is informed and believes and thereon alleges that, unless enjoined,

  20   as requested in the prayer, defendants will continue to engage in the unlawful acts and
  21   in the policies and practices described above, in violation of the legal and constitutional
  22   rights of the Plaintiff. Plaintiff face the real and immediate threat of repeated and
  23   irreparable injury and continuing, present adverse effects as a result of the unlawful
  24
       misconduct, policies and practices of the defendants. Plaintiff has no adequate and
  25
       complete remedy at law.
  26
                                              PRAYER
  27
              Wherefore, Plaintiff prays judgment against defendants and each of them, as
  28

                                                  -25-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 26 of 33 Page ID #:29



   1   follows:
   2      As to each cause of action at to each Plaintiff as applicable:
   3         1. For general damages according to proof;
   4
             2. For special damages according to proof;
   5
             3. For statutory damages under Cal. Civ. Code §§ 52(a) and/or (b), 52.1(b),
   6
       California Code of Civil Procedure 1021.5, and under any other applicable statute or
   7
       theory;
   8

   9         4. For punitive damages against each individual Defendant;

  10         5. For attorney's fees pursuant to 42 U.S.C. §1988, California Civil Code §52.1,
  11   California Code of Civil Procedure 1021.5, and under any other applicable statute or
  12   theory;
  13         6. For costs of suit;
  14
             7. Declaring, pursuant to 28 U.S.C. §§ 2201-2202 that the acts, policies, rules,
  15
       regulations, practices, customs, and usages that the defendants engaged in as set forth
  16
       above violate the legal and constitutional rights of the Plaintiff.
  17
             8. Permanently enjoining defendants and their agents, employees, and successors,
  18

  19   and all persons in active concert or participation with defendants, from engaging in the

  20   unlawful and unconstitutional acts, policies, rules, regulations, practices, customs, and
  21   usages set forth above.
  22         9. Placing the Maywood-Cudahy Police Department under the direct supervision
  23   and control of a receiver or special master to be appointed by the Court; directing the
  24
       receiver or special master to review all existing written and unwritten policies and
  25
       procedures of defendants with respect to the acts, policies, rules, regulations, practices,
  26
       customs, and usages set forth above; directing the receiver or special master to modify,
  27
       amend, or revoke, or to confirm and enforce, existing policies and procedures and to
  28

                                                  -26-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 27 of 33 Page ID #:30



   1   establish such new or additional written policies and procedures as may be necessary
   2   and proper; and directing the receiver or special master to implement and enforce
   3   appropriate written policies and procedures with respect to the following subjects,
   4
       among others:
   5
                      a. Ensuring compliance with constitutional standards governing the use of
   6
             firearms, the use of force, the conduct of searches, and the use of deadly force.
   7
                      b. Providing adequate training, certification, and periodic recertification
   8

   9         of all officers in the lawful use of force, including firearms and other deadly

  10         force.
  11                  c. Specifying departmentally approved weaponless control techniques,
  12         and providing for adequate training, certification, and periodic recertification of
  13         all officers in the use of such techniques.
  14
                      d. Ensuring that members of the public injured by officers receive prompt
  15
             and appropriate medical care, and that their injuries are catalogued and recorded
  16
             in police reports and by photographs of all such injuries.
  17
                      e. Requiring that all persons in custody be transported to a hospital for
  18

  19         examination and treatment by a medical doctor whenever:

  20                        i.     the person sustains a head injury, strikes his or her head on a
  21                               hard object, or sustains a blow to the head, regardless of how
  22                               minor any such injury may appear;
  23                        ii.    the person is choked or is subjected to any control hold
  24
                                   involving the neck, regardless of whether or not the person is
  25
                                   rendered unconscious;
  26
                            iii.   the person has any injuries that appear to require medical
  27
                                   attention;
  28

                                                   -27-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 28 of 33 Page ID #:31



   1                    iv.    the person requests medical treatment, regardless of whether
   2                           or not the person has any apparent injuries.
   3             f. Prohibiting the use of saps in any circumstances, and prohibiting the use
   4
           of head strikes and strikes to other vital areas of the body by batons or
   5
           flashlights, punches or kicks, except in cases where there is legal justification for
   6
           the use of deadly force.
   7
                 g. Requiring that searches be conducted in a manner which inflicts the
   8

   9       least amount of damage necessary in order to conduct an adequate search; that

  10       officers be required to photograph or videotape the premises before and after each
  11       and every search; that officers return to their original location and condition all
  12       items displaced in any search; and that the Maywood-Cudahy Police Department
  13       pay for the repair or replacement of any property unnecessarily damaged or
  14
           destroyed in the course of any search.
  15
                 h. Recording in writing each instance in which an officer is involved in the
  16
           use of force in arresting a suspect or in detaining any person, regardless of
  17
           whether an arrest is made.
  18

  19             i. Requiring that any officer who participates in or witnesses any incident

  20       involving the use of force by an officer shall prepare and submit a departmental
  21       report containing detailed information regarding the incident, including:
  22                    i.     A full description of the actions of the suspect or member of
  23                           the public which made the use of force necessary;
  24
                        ii.    A full description of the specific force used or observed by
  25
                               the officer;
  26
                        iii.   A full description of any injuries or complaints of injuries
  27
                               sustained by the suspect or member of the public, including
  28

                                                -28-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 29 of 33 Page ID #:32



   1                            photographs or videotapes of the suspect or member of the
   2                            public;
   3                     iv.    A full description of any medical treatment received by and
   4
                                any refusal of such treatment by the suspect or member of the
   5
                                public.
   6
                  j. Establishing a system that allows an immediate on-duty supervisor to
   7
           readily access a historical record of any officer who has used force in a period of
   8

   9       at least the last 5 years, including the identity of the officer(s) involved in the use

  10       of force, the file number(s) of the report(s) in which the use of force is reported,
  11       and a description of the nature of the force used (e.g., "intentional head strike
  12       with baton"; "accidental head strike with flashlight"); requiring periodic review
  13       of such records for patterns of unjustified use of force by officers and institution
  14
           of disciplinary proceedings where appropriate; requiring review of such records
  15
           whenever a supervisor prepares a departmental performance evaluation of any
  16
           officer; and requiring that performance evaluations include documentation of any
  17
           patterns concerning the unjustified use of force.
  18

  19              k. Providing that, in any situation in which deadly force has been used by

  20       an officer and death or serious injuryhas resulted, there shall be an administrative
  21       review of the use of force to determine whether it was in compliance with
  22       departmental policy and constitutional standards, and whether departmental
  23       policy should be modified in view of the circumstances surrounding the use of
  24
           such force.
  25
                  l. Requiring that, in departmental investigations of officer-involved
  26
           shootings, other use of deadly force by officers, or complaints of officer
  27
           misconduct:
  28

                                                 -29-                                00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 30 of 33 Page ID #:33



   1                     i.     all percipient witnesses (including officers) be segregated
   2                            from each other as soon as practicable after the incident;
   3                     ii.    such witnesses not be permitted to discuss the incident with
   4
                                any other witness until after all witnesses have been
   5
                                interviewed by departmental investigators;
   6
                         iii.   such witnesses not be informed of the contents or substance
   7
                                of the statements of other witnesses until after all witnesses
   8

   9                            have been interviewed by departmental investigators; and

  10                     iv.    all witness interviews, including interviews of involved
  11                            officers, be fully and completely tape-recorded.
  12             m. Indexing by individual officer and maintaining files of complaints by
  13       members of the public, Cal. Govt. Code § 910 claims, and lawsuits concerning
  14
           officer misconduct; adequately investigating such complaints, claims, and
  15
           lawsuits; and using such files to monitor the conduct of officers.
  16
                 n. Requiring psychological testing and counseling of officers with a record
  17
           of using unreasonable or excessive force, making false arrests, filing false
  18

  19       charges, engaging in related acts of dishonesty, or engaging in racially motivated

  20       misconduct.
  21             o. Maintaining a promotional system which penalizes officers for instances
  22       of unjustified use of firearms or unjustified use of force, violence, sexual
  23       innuendo, dishonesty, racial or ethnic bias, or other misconduct.
  24
                 p.   Requiring dismissal of officers involved in instances of sexual
  25
           misconduct, and/or repeatedly involved in instances ofunjustified use of firearms
  26
           or unjustified use of force, violence, dishonesty, racial or ethnic bias, or other
  27
           misconduct.
  28

                                                -30-                               00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 31 of 33 Page ID #:34



   1             q. Requiring that, where an investigation discloses any improper use of
   2       force by an officer, particularly improper use of force which causes serious bodily
   3       injury as defined in Cal. Penal Code § 243, that matter should be referred to the
   4
           District Attorney's Office for consideration of filing a criminal complaint.
   5
                 r. Requiring that, whenever any officer has been judicially determined to
   6
           have engaged in a violation of constitutional or civil rights, whenever a monetary
   7
           settlement has been made or a judgment has been rendered based on the use of
   8

   9       excessive force by an officer, or whenever any arrest has been made as to which

  10       an officer claims to be the victim of a crime:
  11                    i.     a departmental investigation be conducted, regardless of any
  12                           earlier investigation or the findings thereof;
  13                    ii.    The investigators review all evidence introduced at trial or
  14
                               provided to them by any person, and that they interview all
  15
                               known witnesses including Plaintiff's trial experts, and
  16
                               interview Plaintiff's counsel in any lawsuit alleging officer
  17
                               misconduct;
  18

  19                    iii.   a full report be made to the Chief of Police and to the receiver

  20                           or special master with recommendations for or against
  21                           disciplinary or criminal sanctions against the officer.
  22             s. Directing that the defendants seek tangible ways (for example, through
  23       disciplinary measures) to establish the principle that racial and ethnic bias will not
  24
           be tolerated within the Maywood-Cudahy Police Department, and that the
  25
           defendants establish an adequate program of cultural awareness training and
  26
           periodic retraining to eliminate racial or ethnic stereotypes for all officers.
  27
                 t. Directing that the defendants seek tangible ways to establish the
  28

                                                -31-                                00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 32 of 33 Page ID #:35



   1        principle that gender bias and discrimination and sexual misconduct will not be
   2        tolerated within the Maywood-Cudahy Police Department, and that the
   3        defendants establish an adequate program of gender awareness training and
   4
            periodic retraining to eliminate any and all gender discrimination and sexual
   5
            misconduct.
   6
            10. For such other and further relief as the Court may deem proper.
   7
       DATED: May 12, 2008
   8

   9                         CYNTHIA ANDERSON-BARKER
                              ELLEN HAMMILL ELLISON
  10                                OLU ORANGE
                                   ROBERT MANN
  11                             DONALD W. COOK
                                  ATTORNEYS AT LAW
  12

  13

  14                      By ___________________________________
                                      Donald W. Cook
  15                                Attorneys for Plaintiff
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                                              -32-                                00031956.WPD
Case 2:08-cv-03110-ODW-SH Document 1 Filed 05/12/08 Page 33 of 33 Page ID #:36



   1                           DEMAND FOR JURY TRIAL
   2        Plaintiff hereby demand a jury trial.
   3   DATED: May 12, 2008
   4
                              CYNTHIA ANDERSON-BARKER
   5                           ELLEN HAMMILL ELLISON
                                     OLU ORANGE
   6                                ROBERT MANN
                                  DONALD W. COOK
   7                               ATTORNEYS AT LAW
   8

   9
                                By
  10                                    Donald W. Cook
                                      Attorneys for Plaintiff
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